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            EXHIBIT G
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From:               Herrmann, Karl (ATR)
To:                 Natalie Peelish
Cc:                 Struve, Ryan S. (ATR); Austin Ostiguy; Barkey, Devin (ATR); Benjamin Greenblum; Brian Wang; Cari Jeffries;
                    William F. Cavanaugh; Chapman, Travis (ATR); Christopher Yeager; Christopher Knight; Colette Connor;
                    Dahlquist, David (ATR); diamante.smith@oag.texas.gov; Elizabeth maxeiner; Gloria Maier; Graham Safty; John
                    Schmidtlein; Jon Sallet; Kenneth Smurzynski; Choksi, Kunal (NC); Istrail, Lee; Matthew McGinnis; Onyema,
                    Veronica (ATR); Mark S. Popofsky; Kathleen Ratcliffe; Franklin Rubinstein; Sarah Mader; Michael Schwartz;
                    Severt, Adam T. (ATR); Michael Sommer; Thomas Ryan; Tyler Corcoran
Subject:            Re: [EXTERNAL] RE: Plaintiffs’ Third Joint Request for Production of Documents
Date:               Monday, February 24, 2025 11:03:57 AM


Counsel,

We write to follow up on our meet and confer. With respect to the below questions we asked at the
M&C, we ask for Google’s responses by tomorrow:

        Please provide ballpark figures as to the number of data fields with respect to RFP Nos. 6-8.
        Please let us know whether Google accepts our compromise offer on RFP No. 8, to provide
        the data fields and data dictionary for the data as processed prior to use to train the models
        listed in (a)-(d).
        For RFP Nos. 13, 14, 19, 21, 22, 25, 29, 30, and 32, please confirm whether Google undertakes
        an additional search beyond the scope describe in Google’s Objections and Responses and, if
        any, describe.

Additionally, Plaintiffs propose the following compromises to resolve other potential disputes:

        For RFP No. 9, we seek User-Side Data as it is used in Google’s entire Search Index, and not
        just web crawl index. If Google can clarify whether User-Side Data is used in Google’s
        Knowledge Graph, Google’s response may suffice depending upon the answer.
        For RFP No. 7, we are amenable to Google only providing responses with respect to 7(b) and
        7(g).

Finally, after reviewing Google’s production, Plaintiffs would like to meet and confer to discuss the
scope of Google’s response to Plaintiffs Second Joint Request for the Production of Documents Nos.
14, 15, and 16, as well as Plaintiffs Third Joint Request Nos. 13, 29, 30, and 32. In order to be as
efficient as possible, Plaintiffs would like to propose that Google make certain portions of its intranet
available for inspection and copying.

We are available Wednesday to meet and confer if necessary. We ask for your response to our
compromise offers by tomorrow.

Best,
Karl


        On Feb 12, 2025, at 4:36 PM, Peelish, Natalie <NPeelish@wc.com> wrote:
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 Karl:

 10:30am ET tomorrow works for us to meet and confer. Please circulate a dial-in.

 Thanks,

 Natalie Peelish
 Williams & Connolly LLP
 680 Maine Avenue, S.W., Washington, DC 20024
 (P) 202-434-5598 | (F) 202-434-5029
 npeelish@wc.com | www.wc.com


 From: Herrmann, Karl (ATR) <Karl.Herrmann@usdoj.gov>
 Sent: Wednesday, February 12, 2025 3:53 PM
 To: Peelish, Natalie <NPeelish@wc.com>; Struve, Ryan S. (ATR)
 <Ryan.Struve@usdoj.gov>; Austin Ostiguy <Austin.Ostiguy@ag.tn.gov>; Barkey, Devin
 (ATR) <Devin.Barkey@usdoj.gov>; Greenblum, Benjamin <BGreenblum@wc.com>;
 Brian Wang <Brian.Wang@doj.ca.gov>; Cari Jeffries (Cari.Jeffries@doj.ca.gov)
 <Cari.Jeffries@doj.ca.gov>; Cavanaugh, William F. (x2793) <wfcavanaugh@pbwt.com>;
 Chapman, Travis (ATR) <Travis.Chapman@usdoj.gov>; Yeager, Christopher
 <CYeager@wc.com>; Christopher Knight <Christopher.Knight@myfloridalegal.com>;
 Connor, Colette <CConnor@wc.com>; Dahlquist, David (ATR)
 <David.Dahlquist@usdoj.gov>; diamante.smith@oag.texas.gov; Elizabeth maxeiner
 <Elizabeth.maxeiner@ilag.gov>; Maier, Gloria <GMaier@wc.com>; Safty, Graham
 <GSafty@wc.com>; Schmidtlein, John <JSchmidtlein@wc.com>; Jon Sallet
 <Jon.Sallet@coag.gov>; Smurzynski, Kenneth <KSmurzynski@wc.com>; Choksi, Kunal
 (NC) <kchoksi@ncdoj.gov>; Istrail, Lee <Lee.Istrail@myfloridalegal.com>; 'McGinnis,
 Matthew' <Matthew.McGinnis@ropesgray.com>; Onyema, Veronica (ATR)
 <Veronica.N.Onyema@usdoj.gov>; 'Popofsky, Mark S.'
 <Mark.Popofsky@ropesgray.com>; Ratcliffe Kathleen
 <Kathleen.Ratcliffe@OhioAGO.gov>; 'Rubinstein, Franklin' <frubinstein@wsgr.com>;
 Sarah Mader <Sarah.Mader@OhioAGO.gov>; Schwartz, Michael
 <Michael.Schwartz@ag.ny.gov>; Severt, Adam T. (ATR) <Adam.Severt@usdoj.gov>;
 'Sommer, Michael' <msommer@wsgr.com>; Ryan, Thomas <TRyan@wc.com>; Tyler
 Corcoran <Tyler.Corcoran@ag.tn.gov>
 Subject: RE: Plaintiffs’ Third Joint Request for Production of Documents

 Counsel,

 Can you please let us know today whether you are available to meet and confer
 tomorrow (2/13) from 10:30-11:30am ET?

 Thank you,
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 Karl


 From: Herrmann, Karl (ATR)
 Sent: Tuesday, February 11, 2025 11:12 AM
 To: Peelish, Natalie <NPeelish@wc.com>; Struve, Ryan S. (ATR)
 <Ryan.Struve@usdoj.gov>; Austin Ostiguy <Austin.Ostiguy@ag.tn.gov>; Barkey, Devin
 (ATR) <Devin.Barkey@usdoj.gov>; Greenblum, Benjamin <BGreenblum@wc.com>;
 Brian Wang <Brian.Wang@doj.ca.gov>; Cari Jeffries (Cari.Jeffries@doj.ca.gov)
 <Cari.Jeffries@doj.ca.gov>; Cavanaugh, William F. (x2793) <wfcavanaugh@pbwt.com>;
 Chapman, Travis (ATR) <Travis.Chapman@usdoj.gov>; Yeager, Christopher
 <CYeager@wc.com>; Christopher Knight <Christopher.Knight@myfloridalegal.com>;
 Connor, Colette <CConnor@wc.com>; Dahlquist, David (ATR)
 <David.Dahlquist@usdoj.gov>; diamante.smith@oag.texas.gov; Elizabeth maxeiner
 <Elizabeth.maxeiner@ilag.gov>; Maier, Gloria <GMaier@wc.com>; Safty, Graham
 <GSafty@wc.com>; Schmidtlein, John <JSchmidtlein@wc.com>; Jon Sallet
 <Jon.Sallet@coag.gov>; Smurzynski, Kenneth <KSmurzynski@wc.com>; Choksi, Kunal
 (NC) <kchoksi@ncdoj.gov>; Istrail, Lee <Lee.Istrail@myfloridalegal.com>; 'McGinnis,
 Matthew' <Matthew.McGinnis@ropesgray.com>; Onyema, Veronica (ATR)
 <Veronica.N.Onyema@usdoj.gov>; 'Popofsky, Mark S.'
 <Mark.Popofsky@ropesgray.com>; Ratcliffe Kathleen
 <Kathleen.Ratcliffe@OhioAGO.gov>; 'Rubinstein, Franklin' <frubinstein@wsgr.com>;
 Sarah Mader <Sarah.Mader@OhioAGO.gov>; Schwartz, Michael
 <Michael.Schwartz@ag.ny.gov>; Severt, Adam T. (ATR) <Adam.Severt@usdoj.gov>;
 'Sommer, Michael' <msommer@wsgr.com>; Ryan, Thomas <TRyan@wc.com>; Tyler
 Corcoran <Tyler.Corcoran@ag.tn.gov>
 Subject: RE: Plaintiffs’ Third Joint Request for Production of Documents

 Natalie,

 Plaintiffs request to meet-and-confer regarding Google’s R&Os. We are available on
 Thursday from 10:30-11:30am ET.

 Best,
 Karl


 From: Peelish, Natalie <NPeelish@wc.com>
 Sent: Monday, February 10, 2025 9:25 PM
 To: Struve, Ryan S. (ATR) <Ryan.Struve@usdoj.gov>; Austin Ostiguy
 <Austin.Ostiguy@ag.tn.gov>; Barkey, Devin (ATR) <Devin.Barkey@usdoj.gov>;
 Greenblum, Benjamin <BGreenblum@wc.com>; Brian Wang
 <Brian.Wang@doj.ca.gov>; Cari Jeffries (Cari.Jeffries@doj.ca.gov)
 <Cari.Jeffries@doj.ca.gov>; Cavanaugh, William F. (x2793) <wfcavanaugh@pbwt.com>;
 Chapman, Travis (ATR) <Travis.Chapman@usdoj.gov>; Yeager, Christopher
 <CYeager@wc.com>; Christopher Knight <Christopher.Knight@myfloridalegal.com>;
 Connor, Colette <CConnor@wc.com>; Dahlquist, David (ATR)
Case 1:20-cv-03010-APM           Document 1194-7          Filed 03/23/25       Page 5 of 6


 <David.Dahlquist@usdoj.gov>; diamante.smith@oag.texas.gov; Elizabeth maxeiner
 <Elizabeth.maxeiner@ilag.gov>; Maier, Gloria <GMaier@wc.com>; Safty, Graham
 <GSafty@wc.com>; Herrmann, Karl (ATR) <Karl.Herrmann@usdoj.gov>; Schmidtlein,
 John <JSchmidtlein@wc.com>; Jon Sallet <Jon.Sallet@coag.gov>; Smurzynski, Kenneth
 <KSmurzynski@wc.com>; Choksi, Kunal (NC) <kchoksi@ncdoj.gov>; Istrail, Lee
 <Lee.Istrail@myfloridalegal.com>; 'McGinnis, Matthew'
 <Matthew.McGinnis@ropesgray.com>; Onyema, Veronica (ATR)
 <Veronica.N.Onyema@usdoj.gov>; 'Popofsky, Mark S.'
 <Mark.Popofsky@ropesgray.com>; Ratcliffe Kathleen
 <Kathleen.Ratcliffe@OhioAGO.gov>; 'Rubinstein, Franklin' <frubinstein@wsgr.com>;
 Sarah Mader <Sarah.Mader@OhioAGO.gov>; Schwartz, Michael
 <Michael.Schwartz@ag.ny.gov>; Severt, Adam T. (ATR) <Adam.Severt@usdoj.gov>;
 'Sommer, Michael' <msommer@wsgr.com>; Ryan, Thomas <TRyan@wc.com>; Tyler
 Corcoran <Tyler.Corcoran@ag.tn.gov>
 Subject: [EXTERNAL] RE: Plaintiffs’ Third Joint Request for Production of Documents

 Counsel:

 Please find attached Google’s R&Os to Plaintiffs’ Joint Third Request for Production.

 Regards,

 Natalie Peelish
 Williams & Connolly LLP
 680 Maine Avenue, S.W., Washington, DC 20024
 (P) 202-434-5598 | (F) 202-434-5029
 npeelish@wc.com | www.wc.com


 From: Struve, Ryan S. (ATR) <Ryan.Struve@usdoj.gov>
 Sent: Monday, January 27, 2025 4:27 PM
 To: Austin Ostiguy <Austin.Ostiguy@ag.tn.gov>; Barkey, Devin (ATR)
 <Devin.Barkey@usdoj.gov>; Greenblum, Benjamin <BGreenblum@wc.com>; Brian
 Wang <Brian.Wang@doj.ca.gov>; Cari Jeffries (Cari.Jeffries@doj.ca.gov)
 <Cari.Jeffries@doj.ca.gov>; Cavanaugh, William F. (x2793) <wfcavanaugh@pbwt.com>;
 Chapman, Travis (ATR) <Travis.Chapman@usdoj.gov>; Yeager, Christopher
 <CYeager@wc.com>; Christopher Knight <Christopher.Knight@myfloridalegal.com>;
 Connor, Colette <CConnor@wc.com>; Dahlquist, David (ATR)
 <David.Dahlquist@usdoj.gov>; diamante.smith@oag.texas.gov; Elizabeth maxeiner
 <Elizabeth.maxeiner@ilag.gov>; Maier, Gloria <GMaier@wc.com>; Safty, Graham
 <GSafty@wc.com>; Herrmann, Karl (ATR) <Karl.Herrmann@usdoj.gov>; Schmidtlein,
 John <JSchmidtlein@wc.com>; Jon Sallet <Jon.Sallet@coag.gov>; Smurzynski, Kenneth
 <KSmurzynski@wc.com>; Choksi, Kunal (NC) <kchoksi@ncdoj.gov>; Istrail, Lee
 <Lee.Istrail@myfloridalegal.com>; 'McGinnis, Matthew'
 <Matthew.McGinnis@ropesgray.com>; Onyema, Veronica (ATR)
 <Veronica.N.Onyema@usdoj.gov>; Peelish, Natalie <NPeelish@wc.com>; 'Popofsky,
Case 1:20-cv-03010-APM               Document 1194-7             Filed 03/23/25         Page 6 of 6


 Mark S.' <Mark.Popofsky@ropesgray.com>; Ratcliffe Kathleen
 <Kathleen.Ratcliffe@OhioAGO.gov>; 'Rubinstein, Franklin' <frubinstein@wsgr.com>;
 Sarah Mader <Sarah.Mader@OhioAGO.gov>; Schwartz, Michael
 <Michael.Schwartz@ag.ny.gov>; Severt, Adam T. (ATR) <Adam.Severt@usdoj.gov>;
 'Sommer, Michael' <msommer@wsgr.com>; Struve, Ryan S. (ATR)
 <Ryan.Struve@usdoj.gov>; Ryan, Thomas <TRyan@wc.com>; Tyler Corcoran
 <Tyler.Corcoran@ag.tn.gov>
 Subject: Plaintiffs’ Third Joint Request for Production of Documents

 Counsel,

 Please find attached Plaintiffs’ Third Joint Request for Production of Documents.

 Best,
 Ryan

 Ryan S. Struve, Esq.
 Trial Attorney
 U.S. Department of Justice, Antitrust Division
 Technology and Digital Platforms Section
 450 5th Street NW, Suite 7100
 Washington, DC 20530
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